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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

In re: COLLINS, ANDREW LAMAR                            §         Case No. 16-61864-PWB
                                                        §
                                                        §
                                                        §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold a hearing on the Trustee’s Final Report and
Applications for Compensation in Courtroom 1401, United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, Georgia, at 10:00 a.m. on January 28, 2021.

        Given the current public health crisis, hearings may be telephonic only. Please check the “Important
Information Regarding Court Operations During COVID-19 Outbreak” tab at the top of the GANB Website prior
to the hearing for instructions on whether to appear in person or by phone.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below.

Date Mailed: 12/28/2020                                     By:: /s/ S. Gregory Hays
                                                                              Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555


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Atlanta, GA 30305
(404) 926-0060




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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

In re:COLLINS, ANDREW LAMAR                                   §      Case No. 16-61864-PWB
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                         28,381.20
                   and approved disbursements of:                                    $                            303.14
                   leaving a balance on hand of1:                                    $                         28,078.06

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  6           Wells Fargo                 3,177.92                   3,177.92                         0.00               0.00
              Bank NA
  10          Bank Of                    22,993.82                  22,993.82                         0.00               0.00
              America, N.A.
  13          Franklin                 181,483.44                 181,483.44                          0.00               0.00
              American
              Mortgage
              Company

                                                  Total to be paid to secured creditors:          $                      0.00
                                                  Remaining balance:                              $                 28,078.06

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                                Total           Interim          Proposed
                                                                              Requested       Payments to           Payment
                                                                                                    Date
  Trustee, Fees - S. Gregory Hays                                                3,588.12              0.00         3,588.12
  Trustee, Expenses - S. Gregory Hays                                               90.82              0.00            90.82
  Accountant for Trustee, Fees - Hays Financial Consulting,                      1,380.00              0.00         1,380.00
  LLC


           1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

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  Reason/Applicant                                                         Total            Interim      Proposed
                                                                       Requested        Payments to       Payment
                                                                                              Date
  Accountant for Trustee, Expenses - Hays Financial                          77.30             0.00         77.30
  Consulting, LLC
  Attorney for Trustee Fees (Other Firm) - Arnall Golden                 4,902.25              0.00       4,902.25
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden                 18.50             0.00         18.50
  Gregory LLP

                Total to be paid for chapter 7 administrative expenses:                    $              10,056.99
                Remaining balance:                                                         $              18,021.07

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                  Total              Interim        Proposed
                                                                    Requested          Payments to    Payment
                                                                                       Date

                                                       None

                Total to be paid for prior chapter administrative expenses:                $                   0.00
                Remaining balance:                                                         $              18,021.07

             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
    creditors.
             Allowed priority claims are:
  Claim    Claimant                               Allowed Amount        Interim Payments                 Proposed
  No.                                                    of Claim                 to Date                 Payment

                                                       None

                                               Total to be paid for priority claims:       $                   0.00
                                               Remaining balance:                          $              18,021.07

            The actual distribution to wage claimants included above, if any, will be the proposed
    payment less applicable withholding taxes (which will be remitted to the appropriate taxing
    authorities).
            Timely claims of general (unsecured) creditors totaling $114,694.24 have been allowed and
    will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
    timely allowed general (unsecured) dividend is anticipated to be 15.7 percent, plus interest (if
    applicable).
            Timely allowed general (unsecured) claims are as follows:




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  Claim       Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment
  1           Republic Finance, LLC                        3,783.32                   0.00                 594.45
  2Ua         Internal Revenue Service                       623.80                   0.00                  98.01
  3           Discover Personal Loan                      21,255.33                   0.00               3,339.70
  4           SunTrust Bank                                2,049.63                   0.00                 322.04
  5           Credit First/CFNA                              481.52                   0.00                  75.66
  7           Capital One Bank (USA), N.A.                   562.71                   0.00                  88.41
  8           U.S. Department of Education                47,871.17                   0.00               7,521.65
  9           Midland Funding LLC                            655.53                   0.00                 103.00
  11          SYNCHRONY BANK                               1,531.68                   0.00                 240.66
  12          American Express Centurion                   5,515.69                   0.00                 866.64
              Bank
  14          Nordstrom Fsb                                2,292.59                   0.00                 360.22
  15          LVNV Funding, LLC its                       17,715.05                   0.00               2,783.44
              successors and assigns as
              assignee of LC Trust I
  16          Department Store National                      798.84                   0.00                 125.52
              Bank
  17          Bank of America, N.A.                        7,024.34                   0.00               1,103.68
  18          Wells Fargo Bank, N.A.                       2,476.01                   0.00                 389.04
  19          Ashley Funding Services, LLC                     57.03                  0.00                   8.95
              its successors and assigns as
              assignee of Laboratory
              Corporation of America
              Holdings

                      Total to be paid for timely general unsecured claims:              $               18,021.07
                      Remaining balance:                                                 $                    0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment

                                                        None




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                   Total to be paid for tardily filed general unsecured claims:       $                        0.00
                   Remaining balance:                                                 $                        0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $136.21 have been allowed and will be paid pro rata only
    after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
    dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
             Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                   of Claim                 to Date              Payment
  2Ub      Internal Revenue Service                        136.21                   0.00                      0.00

                                            Total to be paid for subordinated claims: $                        0.00
                                            Remaining balance:                        $                        0.00




                                                Prepared By: /s/ S. Gregory Hays
                                                                          Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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